        Case 20-14119-pmm                       Doc      Filed 06/30/25 Entered 06/30/25 09:59:15                                  Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 4
 Debtor 1               Wendell N Calloway
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        20-14119
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Santander Bank, N.A.
 Name of creditor: _______________________________________                                                           5
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0 ____
                                                         ____ 6 ____
                                                                2 ____
                                                                     8                   Must be at least 21 days after date       07 19 25
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          154.89
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)
                                      number of days in the month changes the amount due
                   Reason for change: ___________________________________________________________________________________
                                               152.51
                   Current mortgage payment: $ _______________                                                 154.89
                                                                                       New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
      Case 20-14119-pmm                              Doc          Filed 06/30/25 Entered 06/30/25 09:59:15                           Desc Main
                                                                  Document      Page 2 of 4

Debtor 1
                  Wendell N Calloway
                 _______________________________________________________
                                                                                                                   20-14119
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



    _____________________________________________________________
     Signature
                                                                                               Date
                                                                                                       06 30      2025
                                                                                                       ____/_____/________



                                                                                                       Bankruptcy Administrator
                     Lynn A Grimm
 Print:             _________________________________________________________                  Title   ___________________________
                    First Name                      Middle Name         Last Name



 Company
                     Santander Bank, N.A.
                    _________________________________________________________


                     1130 Berkshire Boulevard, MC: PA-WYO-BKR2
 Address            _________________________________________________________
                    Number                 Street

                    Wyomissing                         PA        19610
                    ___________________________________________________
                    City                                                State       ZIP Code


                      610        401      9409                                                         DeftBkr@santander.us
 Contact phone      (______) _____– _________                                                  Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
Case 20-14119-pmm           Doc      Filed 06/30/25 Entered 06/30/25 09:59:15        Desc Main
                                     Document      Page 3 of 4



                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
In Re:                                                         Chapter #13
         Wendell N Calloway                                    Case No. 20-14119
                                                               Honorable Patricia M Mayer
Debtor
____________________________________________/

                                   CERTIFICATE OF SERVICE

        I, Lynn A Grimm of Santander Bank, N.A., do hereby certify that on June 30, 2025, I caused
to be served a copy of the Notice of Payment Change on the service list below by having a copy of
the same mailed by first class mail, postage prepaid or other method specified on service list.

         Signed under the penalties of perjury, this 30th day of June, 2025.



                                                               _______________________________
                                                               Lynn A Grimm
                                                               Santander Bank, N.A.
                                                               Bankruptcy Administrator
                                                               1130 Berkshire Boulevard
                                                               Wyomissing, PA 19610
                                                               (610) 401-9409
                                                               Email: DeftBkr@santander.us



VIA US MAIL
Wendell N Calloway
6113 Christian St
Philadelphia, PA 19143

VIA ECF
Kenneth E West
1234 Market St Ste 1813
Philadelphia, PA 19107

Michael A Cibik
mail@cibiklaw.com
   Case 20-14119-pmm                                                                    Doc             Filed 06/30/25 Entered 06/30/25 09:59:15                                                       Desc Main
                                                                                                        Document      Page 4 of 4
                                                    Mail Code: 10-421-CN2
                                                    P.O. Box 12646
                                                    Reading, PA 19612                                                                                                   STATEMENT OF ACCOUNT
                                                    Customer Service: 1-877-768-2265
                                                    www.SantanderBank.com                                                                                        Account Number:
                                                                                                                                                                 Statement Date:                           06-26-2025
                                                                                                                                                                 Statement Period From:                    05-27-2025
                                                                                                                                                                 Statement Period Through:                 06-26-2025
                                                                                                                                                                 Days in Statement Period:                         31
                                                              80-0.5400 000003BFXB1KU 1/2 BIN:0 0-319                                                            Current Balance:                          $12,926.64
                                                              WENDELL CALLOWAY                                                                                   Credit Line Amount:                            $0.00
                                                              6113 CHRISTIAN ST                                                                                  Available Credit:                              $0.00
                                                              PHILADELPHIA PA 19143-2901                                                                         End of Draw Date:                         06-27-2027
                                                   FTAAATFTAFFATFATDDDDFFAFADFFTTFTFAAFADDFFDTDDTFDATATFTAADTTAFFDTD                                             Minimum Payment:                             $154.89
                                                                                                                                                                 Payment Due Date:                         07-19-2025




                                                                                                              Important Message

                                                                                    Want a faster and more convenient way to get your account information?




                                                                                                                                                                        LY
                                                                                Enroll in online banking and our Mobile Banking App – it takes just a few minutes.




                                            ACCOUNT BILLING SUMMARY                                                                        ACCOUNT BALANCE SUMMARY
80-0.5400 000003BFXB1KU 1/2 BIN:0 0-319




                                           Principal Due                                                 $53.68                           Beginning Balance                                      $13,012.43




                                                                                                                                                             N
                                           INTEREST CHARGE Due                                          $101.21                           Advances                                                      $0.00
                                           Past Due Amount                                                $0.00                           Payment Received                                            $187.00
                                           Late Charges Due                                               $0.00                           Insurance Premium                                             $0.00




                                                                                                                                              O
                                           Fees Due                                                       $0.00                           INTEREST CHARGE                                             $101.21
                                           Payment Shortage                                               $0.00                           Late Charges                                                  $0.00
                                           Total Minimum Payment Due                                    $154.89                           Fees                                                          $0.00
                                                                                                                                          Adjustments                                                   $0.00
                                                                                                                            L             Ending Balance                                         $12,926.64
                                                                                                                                          Unapplied Credit Balance                                      $0.00
                                                                                                               A
                                                                                               SUMMARY OF REVOLVING ACCOUNT BALANCE
                                          Periodic Rate From                                                   05-27-2025                 Periodic INTEREST CHARGE                                                $101.21
                                          Periodic Rate Through                                                06-26-2025                 ANNUAL PERCENTAGE RATE                                                   9.2500
                                                                                        N

                                          Payment Amount                                                          $154.89
                                          Daily Periodic Rate *                                             0.0002534247
                                          Balance Subject to Interest Rate                                     $12,882.51                 Ending Principal                                                      $12,825.43
                                               * The daily periodic rate may vary.
                                                                                       R


                                                                                        TRANSACTION ACTIVITY SINCE YOUR LAST STATEMENT
                                          Posting Date             Effective Date         Activity Description                                                                          Amount                    Balance
                                                                   05-27-2025             BEGINNING PRINCIPAL                                                                                                   $12,913.91
                                                                           E



                                          06-23-2025               06-16-2025             PAYMENT RECEIVED - THANK YOU                                                                       $53.99             $12,859.92
                                                                                          TO PRINCIPAL                                                                                       $53.99
                                          06-23-2025               06-16-2025             PAYMENT RECEIVED - THANK YOU                                                                       $98.52             $12,859.92
                                                               T




                                                                                          ** INTEREST CHARGE **                                                                              $98.52
                                          06-23-2025               06-16-2025             TO PRINCIPAL CURTAILMENT                                                                           $34.49             $12,825.43
                                                                   06-26-2025             ENDING PRINCIPAL                                                                                                      $12,825.43
                                             IN




                                          ***************************************************************** FEES *******************************************************************
                                                                                          TOTAL FEES THIS PERIOD                                                                              $0.00




                                                                                                             Please return this portion with your check.




                                                                                                                         Account Number                     Due Date           Payment Due            Amount Enclosed
                                                                                                                                                           07-19-2025            $154.89

                                             WENDELL CALLOWAY
                                             6113 CHRISTIAN ST
                                             PHILADELPHIA PA 19143-2901



                                             Make Check Payable To:

                                                                      Santander Bank, N.A,
                                                                      P.O. Box 847051
                                                                      Boston, MA 02284-7051
